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                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION

FEDERAL TRADE COMMISSION, STATE
OF ARIZONA, STATE OF CALIFORNIA,                Case No. 3:24-CV-00347-AN
DISTRICT OF COLOMBIA, STATE OF
ILLINOIS, STATE OF MARYLAND, STATE              NON-PARTY RALEY’S HOLDING
OF NEVADA, STATE OF NEW MEXICO,                 COMPANY’S AND RALEY’S ARIZONA
STATE OF OREGON, and STATE OF                   LLC’S UNOPPOSED MOTION TO SEAL
WYOMING,                                        EVIDENTIARY HEARING EXHIBITS
                                                PX8062 AND PX4083
                   Plaintiff,

vs.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                   Defendants.




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                                    LR 7-1 CERTIFICATION

            Pursuant to LR 7-1(a), counsel for non-parties Raley’s Holding Company and Raley’s

Arizona, LLC (“Raley’s Arizona”) (collectively, “Raley’s”) has consulted telephonically with the

parties about this motion; Plaintiffs and Defendants have confirmed that this motion is unopposed.

                                     UNOPPOSED MOTION

           In accordance with the Court’s Order Regarding Sealing Evidentiary Exhibits (ECF No.

263), non-parties Raley’s Holding Company and Raley’s Arizona, LLC (“Raley’s Arizona”)

(collectively, “Raley’s”) move to seal two exhibits that Plaintiffs have indicated they may use at

the upcoming preliminary injunction evidentiary hearing: PX8062 and PX4083. In particular,

Raley’s requests that this Court seal: (1) the entirety of PX8062, a four-page internal pricing

strategy document used by Raley’s Arizona in competing against Defendants in Arizona; and (2)

pages 168:19-178:19 of PX4083, which involves deposition testimony discussing the substance of

PX8062. This Motion is supported by the declaration of Keith Knopf ("Knopf Declaration"), the

President and CEO of the Raley’s Holding Company, filed contemporaneously with this motion.

                                  RELEVANT BACKGROUND

I.         Raley’s Holding Company Competes Against Defendants

           The Raley’s Holding Company is a private, independently family-owned, 90-year-old

company headquartered in West Sacramento, California that owns a portfolio of operating

companies that manage grocery stores and digital assets in multiple states in the Western United

States. Knopf Decl., ¶ 3. In total, Raley’s Holding Company’s operating companies operate 230

supermarket locations under various banners in California, Nevada, Arizona, New Mexico, and

the Tribal Nations of the Navajo, Apache, and Tohono O’odham. Id. ¶ 4. As part of a 2021

acquisition, the Raley’s Holding Company formed Raley’s Arizona to acquire the assets of Bashas’


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Family of Stores. Id. ¶ 7. Raley’s Arizona currently includes five banners: Bashas’, Bashas Diné,

Food City, AJ’s Fine Foods, and Eddie’s Country Stores. Id.

           Primarily, the Raley’s Holding Company’s supermarket locations are full-line,

conventional grocery stores, which offer a wide variety of quality-priced products, are typically

located in neighborhood areas, are well-staffed and well-maintained, and compete on a high/low

pricing posture. Id. ¶ 5. The store format and layout, product assortment, and services provided by

Raley’s Holding Company’s conventional grocery stores is highly similar—if not practically

synonymous—with conventional grocery stores operated under the banners of Defendants The

Kroger Company (“Kroger”) and Albertson’s Companies, Inc. (“Albertson’s”), including in

several of the same geographic areas where the Raley’s Holding Company operates. Id. ¶ 6. For

example, Raley’s Arizona operates 43 Bashas’ grocery stores as traditional, full-line, conventional

supermarkets in Arizona. Id. ¶ 8. 1

           Raley’s Arizona’s banner stores, such as Bashas’, compete directly against a Kroger’s

banner, Fry’s, and two Albertsons’ banners, Albertsons and Safeway. Id. at ¶¶ 13-14. Fry’s,

Albertsons, and Safeway encompass the same trade areas where Raley’s Arizona’s banner stores

operate and provide similar product assortment, store format, and services as Raley’s Arizona’s

conventional grocery stores. See id.. Similarly, Raley’s Holding Company’s banner stores compete

directly against: (1) Albertsons’ banner Safeway and Kroger’s banner Food 4 Less in Northern



1
  With respect to the other Raley’s Arizona banners, Bashas’ Diné are highly similar in product
assortment, store layout, and services as Bashas’ but are entirely located on tribal land and feature
products that are of interest to Native American communities. Knopf Decl., ¶ 9. Food City is a
value-priced supermarket that features a high preponderance of first or second generation Northern
Mexican ethnic products, though the store size and quantity of different products is similar to
Bashas’ stores. Id. ¶ 10. AJ’s Fine Foods is a physically smaller grocery store that features gourmet
and high-service offerings. Id. ¶ 11. Eddie’s Country Store is essentially a corner market in a
relatively rural tourist destination area. Id. ¶ 12.
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 California; and (2) Albertson’s banner Safeway and Kroger banner Smith’s in Nevada. Id. ¶ 15.

II.         The Raley’s Holding Company and Raley’s Arizona Have Provided Highly

            Confidential Documents and Testimony in Connection with this Matter.

            On March 6, 2023, the FTC served Raley’s Arizona with a Civil Investigative Demand (the

 “CID”) relating to its investigation of Defendants’ proposed merger. Raley’s Arizona subsequently

 produced documents to the FTC to comply with the CID, including PX8062—a highly-sensitive,

 2023 document used for purposes of pricing strategy by Raley’s Arizona. Id. ¶ 17; Ex. 1 (copy of

 PX8062, filed under seal). 2 In particular, PX8062 reflects the process, methods, and various

 benchmarks used by Raley’s Arizona to establish prices at the five different Raley’s Arizona

 banners and for different categories of products (such as, for example, private label products).

 Knopf Decl., ¶ 18. The document describes in specific detail:

                    •   Quantitative measures and rules for how the Raley’s Arizona banner stores price

                        against their direct competition at Safeway, Albertsons, and Fry’s, for different

                        categories of stores and different categories of products. Id. ¶ 19.

                    •   Benchmarks on where different categories of Raley’s Arizona stores and products

                        should rank in terms of pricing and as compared to competitor stores in the market,

                        including Safeway, Albertsons, and Fry’s. Id. ¶ 20.



 2
   Because PX8062 is a highly-sensitive pricing strategy document produced in response to an FTC
 investigation, this document should be treated as Highly Confidential Material under Paragraph 2
 of the Stipulated Protective Order in this matter. (See ECF No. 97 at 4 (“Any Document or portion
 thereof submitted by a Defendant or a nonparty during an FTC investigation . . .. that is entitled to
 confidentiality under the Federal Trade Commission Act, or any federal or state statute or
 regulation, or under any federal court or Commission precedent interpreting such statute or
 regulation . . . shall be treated as Highly Confidential Material for purposes of this Protective
 Order”).) Of note, PX8062 contains the word “Confidential” at the bottom of each page, and
 Raley’s Arizona included the word “Confidential” in the title of the document when it produced
 PX8062 in response to the FTC’s CID.
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                   •   Raley Arizona’s strategy for pricing different categories of products based on how

                       consumers perceive the products or the type of value messaging that Raley’s

                       Arizona seeks to convey to its customers. Id. ¶ 21.

                   •   Quantitative data on target profit margin goals in different product categories. Id.

                       ¶ 22.

           This information in PX8062 reflects highly-confidential trade secrets that are closely

guarded by Raley’s Arizona. See id. ¶ 24. Indeed, Raley’s Arizona is currently employing many

of the highly confidential pricing strategies that are reflected in PX8062. Id. ¶ 25. The public

disclosure of PX8062 would thus cause significant competitive harm to Raley’s Holding Company

and Raley’s Arizona because the document would provide to competitors, including Kroger and

Albertson’s, comprehensive understanding of how Raley’s Arizona determines pricing, margins

and reacts to competitive price changes. Id. ¶¶ 26-27.

           On June 5, 2024, the parties deposed Mr. Knopf, the President and CEO of the Raley’s

Holding Company, in connection with this litigation. During that deposition, Mr. Knopf was asked

about PX8062. Id. ¶ 28. After generally describing the nature of this document and its sensitive

nature, Mr. Knopf was specifically asked about and testified regarding the substance of PX8062

at pages 168:19-178:19 of PX4083. Id.; Ex. 2 (excerpts of PX4083, filed under seal).

           A few months later, Plaintiffs gave notice to Raley’s that they might use four exhibits

relating to Raley’s Holding Company and/or Raley’s Arizona in the upcoming preliminary

injunction hearing, while Defendants gave notice to Raley’s of potential use of three exhibits.

Plaintiffs’ list included, among other documents, PX8062 and PX4083. Plaintiffs have also

indicated their intent to call Mr. Knopf as a witness on August 29, 2024.

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                                             ARGUMENT

           In the Ninth Circuit, courts apply a “compelling reasons” standard to seal judicial records

in light of the “strong presumption” favoring public access. Kamakana v. City & County of

Honolulu, 447 F.3d 1172, 1175 (9th Cir. 2006). Still, the Ninth Circuit has found a number of

“compelling reasons” to seal judicial records, such as when public disclosure would “release trade

secrets.” Id. at 1179. “[C]ourts have refused to permit their files to serve as . . . sources of business

information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc’ns, Inc.,

435 U.S. 589, 598 (1978).

           Accordingly, “a trial court has broad discretion to permit sealing of court documents for,

inter alia, the protection of a trade secret or other confidential research, development, or

commercial information.” San Diego Detox, LLC v. Detox Ctr. of San Diego LLC, 2024 WL

2059737, at *1 (S.D. Cal. May 8, 2024) (cleaned up). “Additionally, courts have been willing to

seal court filings containing confidential business material” under the compelling reasons standard,

id., including a company’s “confidential financial and pricing information.” Quidel Corp. v.

Siemens Med. Sols. USA, Inc., 2020 WL 1062949, at *2 (S.D. Cal. Mar. 4, 2020); see also Selling

Source, LLC v. Red River Ventures, LLC, 2011 WL 1630338, at *1 (D. Nev. Apr. 29, 2011) (“It is

well-settled that the court has the authority to shield proprietary information related to the ongoing

operations of a business from public review.”).

           Further, in this case, Plaintiffs have correctly noted that “courts regularly consider the

status, and associated limitations of nonparties to a litigation when protecting the nonparties’

confidential business information.” (ECF No. 229 at 2 (citing United States v. Dentsply Intern.,

Inc., 187 F.R.D. 152, 160 n.7 (D. Del. 1999), and Broadcasting Co. v. Dish Network, 2015 WL

12765545, at *3 (C.D. Cal. Jan. 12, 2015) (“Granting protective orders to non-parties to protect


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their trade secrets and confidential information does not offend the public interest in disclosure.”).)

           Here, non-parties Raley’s Holding Company and Raley’s Arizona have established

compelling reasons to seal the entirety of PX8062 and the specific excerpts of PX4083—namely,

pages 168:19-178:19—that discuss the substance of the pricing strategy information in PX8062.

As detailed above and in the accompanying declaration of Mr. Knopf, Raley’s Holding Company’s

conventional grocery stores compete directly against Defendants in Arizona, as well as in

California and Nevada. See Knopf Decl., ¶¶ 6, 14-15. PX8062, and the associated deposition

testimony in PX4083, reveal the internal pricing strategies used by Raley’s Arizona in the course

of this competition in Arizona, including detailed quantitative measures and benchmarks for how

Raley’s Arizona banner stores set their prices in comparison to Kroger’s and Albertson’s banner

stores. See id. ¶¶ 17-20. PX8062 further discloses highly-sensitive, strategic information on how

Raley’s sets prices based on consumer perception and value messaging, as well as quantitative

data on target profit margin goals in different product categories. See id. ¶¶ 21-22.

           PX8062 is also current: the document is from 2023 and Raley’s Arizona is currently

employing many of the highly confidential pricing strategies that are reflected in the document.

See id. ¶¶ 16, 25. Raley’s Arizona does not disclose its pricing strategies to the public, and the

public disclosure of this confidential business information due to this litigation—including to the

Defendants who are the direct competitors of Raley’s Arizona—would cause significant

competitive harm to the Raley’s Holding Company and Raley’s Arizona. See id. ¶¶ 24, 26-28.

           Lastly, because Raley’s Holding Company and Raley’s Arizona are non-parties to this

litigation, protecting their confidential business strategies from public release will “not offend the

public interest in disclosure.” Broadcasting Co., 2015 WL 12765545, at *3.

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                                         CONCLUSION

           For the reasons stated above and in Mr. Knopf’s accompanying declaration, non-parties

Raley’s Holding Company and Raley’s Arizona respectfully request that this Court seal: (1)

PX8062 in its entirety; and (2) pages 168:19-178:19 of PX4083.



Dated: August 20, 2024                             SNELL & WILMER L.L.P.



                                                   By: /s/ Clifford S. Davidson
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